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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MANCHESTER UNITED FOOTBALL
CLUB LIMITED, TOTTENHAM HOTSPUR                           Case No. 22-cv-00487
LIMITED, and THE LIVERPOOL
FOOTBALL CLUB AND ATHLETIC                                Judge Franklin U. Valderrama
GROUNDS LIMITED,
                                                          Magistrate Judge M. David Weisman
                            Plaintiffs,

          v.

GUANGZHOU VIETA GARMENT CO.,
LTD., et al.,
               Defendants.


    PLAINTIFFS’ MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT

          Plaintiffs Manchester United Football Club Limited (“MUFC”), Tottenham Hotspur

Limited (“THFC”), and The Liverpool Football Club and Athletic Grounds Limited (“LFC”)

(collectively, “Plaintiffs”), by their counsel, move this Honorable Court to enter Default and

Default Judgment against all Defendants remaining in the case. 1 In support of this Motion,

Plaintiffs submit the accompanying Memorandum and a further Declaration of Justin R.

Gaudio.




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    A current version of Schedule A is attached to Plaintiffs’ Memorandum as Exhibit 1.

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Dated this 10th day of August 2022.   Respectfully submitted,

                                      /s/ Isaku M. Begert
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                                      Justin R. Gaudio
                                      Isaku M. Begert
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                                      Counsel for Plaintiffs Manchester United
                                      Football Club Limited, Tottenham Hotspur
                                      Limited, and The Liverpool Football Club and
                                      Athletic Grounds Limited




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of August 2022, I will electronically file the

foregoing with the Clerk of the Court using the CM/ECF system, I will electronically publish

the documents on a website and I will send an e-mail to the e-mail addresses identified in

Exhibit A hereto that includes a link to said website.


                                              /s/ Isaku M. Begert
                                              Amy C. Ziegler
                                              Justin R. Gaudio
                                              Isaku M. Begert
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                                              Limited, and The Liverpool Football Club and
                                              Athletic Grounds Limited




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